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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )             Case No. 8:16CR204
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )                   ORDER
CRAIG HOLCOMB,                               )
                                             )
                    Defendant.               )



      This case is before the court on the defendant Craig Holcomb's Motion to Review

Detention (#90). The court has previously ordered (#49 and #56) the denial of the

defendant's two previous motions to review detention. The defendant's current Motion to

Review Detention again does not contain any additional information that would cause the

court to reconsider its previous Orders on the issue of detention. Therefore, for the

reasons stated in the court's two previous Orders, the defendant's Motion to Review

Detention (#90) is denied without hearing.

      IT IS SO ORDERED on this 17th day of January 2017.

                                        BY THE COURT:


                                        s/ F.A. Gossett, III
                                        United States Magistrate Judge
